Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 1 of 16




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


       ALEKSEJ GUBAREV,
       XBT HOLDING S.A., and
       WEBZILLA, INC.                                                      Case No.
         Plaintiffs,
                                                                      0:17-cv-60426-UU
       v.

       BUZZFEED, INC. and
       BEN SMITH
         Defendants.


                PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE THE EXPERT
                         OPINIONS OF ANTHONY J. FERRANTE

                                               Introduction
            Four million dollars1 doesn’t buy what it used to in an expert witness. In this case, it
   apparently does not buy an expert opinion that does what it purported to set out to do, namely
   provide any admissible expert testimony that is actually related to the factual issues to be decided
   by the jury. And so, recognizing apparently that former FBI agent Anthony Ferrante would be
   unable to find any evidence that would prove the truth of the actual defamatory statements
   published about Plaintiffs by Buzzfeed, Defendants instead instructed Mr. Ferrante to try to
   prove statements that, while not actually contained in the defamatory article, might be “close
   enough” so that no one would notice. Specifically, whereas the defamatory statements accuse
   Mr. Gubarev personally of having been pressured by the FSB into using his companies to hack
   into the Democratic Party leadership as part of a plot to undermine the United States Presidential
   elections – Defendants instead charged Mr. Ferrante with finding evidence that might suggest
   that third parties utilized XBT’s and/or Webzilla’s infrastructure to accomplish these goals.
   The entirety of Mr. Ferrante’s report, then, is based on proving facts that are not relevant to the


   1
    Ferrante Depo., p. 42 (“Q. To date how much has FTI billed BuzzFeed in connection with the
   present engagement? A.· · I believe the figure is just below $4,100,000.”).
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 2 of 16




   questions to be answered by the jury. And, even if Mr. Ferrante had been investigating relevant
   questions, his report cannot support the opinions offered. Because his report does not meet the
   requirements for an expert report articulated by the United States Supreme Court in Daubert v.
   Merrill Dow Pharms., Inc., 509 U.S. 579 (1993) and Kumho Tire Co., Ltd. v. Carmichael, 526
   U.S. 137 (1999) and the requirements of Rule 702 of the Federal Rules of Evidence, Plaintiffs
   move to exclude the expert report and opinions of Anthony J. Ferrante in their entirety.
                                                 Argument
           I.       Legal Standard
           The admissibility of expert testimony is governed by Federal Rule of Evidence 702,
   which states that:
           A witness who is qualified as an expert by knowledge, skill, experience, training,
           or education may testify in the form of an opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized knowledge will help
                    the trier of fact to understand the evidence or to determine a fact in issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and methods; and
               (d) the expert has reliably applied the principles and methods to the facts of the
                    case.
   Fed. R. Evid. 702.
           In Daubert, the Supreme Court addressed the gatekeeping function of the district court to
   “ensure that any and all scientific testimony or evidence is not only relevant, but reliable.” 509
   U.S. at 589. “The trial judge must determine at the outset, pursuant to Rule 104(a), whether the
   expert is proposing to testify to: (1) scientific knowledge that (2) will assist the trier of fact to
   understand or determine a fact in issue.” Id. at 592. See, also, United States v. Frazier, 387 F.3d
   1244, 1260 (11th Cir.2004) (“The district court’s role is especially significant since the expert’s
   opinion ‘can be both powerful and quite misleading because of the difficulty in evaluating it.’
   Indeed, no other kind of witness is free to opine about a complicated matter without any
   firsthand knowledge of the facts in the case.” (internal citation omitted) (quoting Daubert, 509
   U.S. at 595)).
           In Kumho, the Court extended Daubert to non-scientist experts and confirmed that the
   Daubert gatekeeping requirement is vital one. As the Supreme Court held in Kumho Tire:
           [T]he objective of that requirement is to ensure the reliability and relevancy of
           expert testimony. It is to make certain that an expert, whether basing testimony
           upon professional studies or personal experience, employs in the courtroom the

                                                       2
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 3 of 16




           same level of intellectual rigor that characterizes the practice of an expert in the
           relevant field.
   Kumho, 526 U.S. at 152.
           The Eleventh Circuit, in turn, developed a rigorous three-part test to determine whether to
   admit an expert report or opinion under Daubert. See United States v. Frazier, 387 F.3d 1244,
   1260 (11th Cir. 2004) (Rule 702 requires a “rigorous three-part inquiry”). “Expert testimony
   may be admitted into evidence if: (1) the expert is qualified to testify competently regarding the
   matters he intends to address; (2) the methodology by which the expert reaches his conclusions is
   sufficiently reliable as determined by the sort of inquiry mandated in Daubert; and (3) the
   testimony assists the trier of fact, through the application of scientific, technical, or specialized
   expertise, to understand the evidence or to determine a fact in issue.” City of Tuscaloosa v.
   Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998).
           The party offering an expert has the burden of satisfying each of these elements by a
   preponderance of the evidence. Rink v. Cheminova, Inc., 400 F.3d 1286, 1292 (11th Cir. 2005).
   See, also, Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999) (“The burden of
   laying the proper foundation for the admission of the expert testimony is on the party offering the
   expert, and admissibility must be shown by a preponderance of the evidence.”).
           “Even if a witness is qualified as an expert regarding a particular issue, the process used
   by the witness in forming his expert opinion must be sufficiently reliable under Daubert and its
   progeny.” Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180 at *18 (S.D. Fla. June 2, 2015).
   An expert’s “rank speculation would only unfairly prejudice Plaintiffs by advocating for a
   certain result in the guise of offering expert opinions. This is unacceptable.” Id. at *13.
           “[A]n expert must, in his report, provide ‘a complete statement of all opinions the witness
   will express and the basis and reasons for them.’... [A] naked reference to his own background
   ... is no showing of reliability at all....” Harrison v. Royal Caribbean Cruises, Ltd., 2013 U.S.
   Dist. LEXIS 202067, at *7 (S.D. Fla. Nov. 7, 2013) (quoting Fed.R.Civ.P. 26(a)(2)(B)(i))
   (emphasis in original).
           Where a witness is “‘relying solely or primarily on experience, then the witness must
   explain how that experience leads to the conclusion reached, why that experience is a sufficient
   basis for the opinion, and how that experience is reliably applied to the facts. The trial court’s
   gatekeeping function requires more than simply “taking the expert’s word for it.”’” Affiliati


                                                      3
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 4 of 16




   Network, Inc. v. Wanamaker, 2017 U.S. Dist. LEXIS 217403, at *7-8 (S.D. Fla. Aug. 14, 2017)
   (quoting Frazier, 387 F.3d at 1261).
          II.     The Expert Testimony of Anthony J. Ferrante is Unreliable and Will Not
                  Assist the Trier of Fact.
          The Ferrante Report, attached hereto as Exhibit 1, is particularly remarkable in one
   important respect (other than its astonishing price tag): despite being offered as an expert witness
   to provide evidence of the truth of the statements made about Plaintiffs in the December Memo,
   Mr. Ferrante acknowledges outright that he was not actually asked to render an opinion on – and
   does not render an opinion on – the allegations made in the December memo concerning
   Plaintiffs. Instead, apparently knowing that they would find no evidence to support the actual
   allegations made in the December Memo, Defendants charged Mr. Ferrante with finding
   evidence of what they believed he could find (despite it not being the same as the defamatory
   statements made) and, moreover, instructed him specifically to focus solely on the evidence that
   painted Plaintiffs in a negative light, and to ignore evidence to the contrary.
          More specifically, the December Memo alleged that:
          [O]ver the period March-September 2016 a company called XBT/Webzilla and its
          affiliates had been using botnets and porn traffic to transmit viruses, plant bugs,
          steal data and conduct “altering operations” against the Democratic Party
          leadership. Entities linked to one Aleksei GUBAROV [sic] were involved and he
          and another hacking expert, both recruited under duress by the FSB, Seva
          KAPSUGOVICH, were significant players in this operation. In Prague, COHEN
          agreed contingency plans for various scenarios to protect the operations, but in
          particular what was to be done in the event that Hillary CLINTON won the
          presidency. It was important in this event that all cash payments owed were made
          quickly and discreetly and that cyber and that cyber and other operators were stood
          down / able to go effectively to ground to cover their traces.
   See December Memo, attached as Exhibit 2.
          In other words, what the December Memo actually accused Plaintiffs of was: (1) having
   been personally involved, albeit under duress in (2) using botnets and porn traffic to (3) transmit
   viruses, plant bugs, steal data, and conduct “altering operations” against the Democratic Party
   leadership. According to Mr. Ferrante, however, the complete scope of his assignment was to
   “to conduct a technical investigation and collect evidence that links XBT infrastructure to the
   described malicious cyber activity in the Steele dossier” and his conclusions and opinions were
   related only to the use of Plaintiffs’ computer infrastructure. Ferrante Depo., Exhibit 3 hereto, p.
   14 (emphasis added). See, also, Ferrante Depo., p. 15 (“The scope of my assignment was to

                                                     4
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 5 of 16




   conduct a complex technical investigation to collect evidence, to identify evidence that linked
   XBT infrastructure to the described malicious activity in the Steele dossier and to serve as an
   expert witness on that evidence.” (emphasis added)); pp. 44-47 (statement that “Entities linked to
   one Aleksei GUBAROV [sic] were involved and he and another hacking expert, both recruited
   under duress by the FSB, Seva KAPSUGOVICH, were significant players in this operation” was
   outside the scope of the assignment); p. 50 (“Q. Was part of your engagement by BuzzFeed to
   conduct a factual inquiry into the truth or falsity of allegations contained in the dossier, separate
   and aside from the cyber aspect of it? A. The scope of our assignment was to conduct a technical
   investigation and to collect evidence that linked XBT to the allegations stated in the Steele
   dossier.”); pp. 59-60 (“Q. In your high-priority objectives you talk about botnets and porn traffic
   being hosted by XBT and Webzilla. Why were you considering the question of hosting as
   opposed to whether or not XBT and Webzilla were themselves doing those things? A. … I
   would say because the scope of our assignment was to identify evidence that linked XBT
   infrastructure to this malicious activity as stated in the Steele dossier. Q. And so you have not
   concluded in your report or otherwise that XBT itself used botnets and porn traffic as opposed to
   its infrastructure.· Is that correct? A. Other than the fact that was -- Other than the fact that the
   malicious cyber activity described in the Steele dossier was facilitated by using their
   infrastructure. Q. And I'm sorry. I think I understand your answer, but I just want to clarify
   You've -- Your conclusion, your opinion is that XBT and/or Webzilla's infrastructure was
   utilized to do the malicious things described in the Steele dossier, correct? A. Correct.”
   (emphasis added)); pp. 62-63 (“Q. I understand that you don't want to answer the question that
   I'm actually asking. But the question that I'm actually asking is: Putting aside the infrastructure
   question, were you able to determine that any XBT employee used botnets or porn traffic to
   transmit viruses, plant bugs, steal data or conduct altering operations? THE WITNESS:· I think
   we can disagree that I believe I have answered the question.· But I will further state that other
   than the fact that XBT employees did little to nothing to detect, stop and prevent the significant
   malicious activity, I have no evidence of them actually sitting behind a keyboard.” (emphasis
   added)); p. 63 (“Q. And you have no evidence that Aleks Gubarev personally did any of the
   things alleged in the Steele dossier? A. Other than the fact that Aleksej Gubarev owns and
   operates XBT and related entities, he was outside the scope of my assignment.”).



                                                     5
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 6 of 16




          As an overarching matter, then, Mr. Ferrante’s report should be deemed inadmissible
   inasmuch as it fails to meet the relevance requirements of Daubert. To the extent that
   Defendants are attempting to prove the truth of the statements contained in the December Memo,
   those statements accuse the defendants of directly hacking the Democratic Party leadership under
   pressure from the FSB. The December Memo says nothing about Plaintiffs’ infrastructure being
   misused by third parties (clients or otherwise) to hack the Democratic Party leadership, nor does
   the December Memo allege that Plaintiffs’ had lax security measures that allowed third parties
   (clients or otherwise) to misuse their infrastructure. This is a huge and important distinction and
   it is a distinction that Defendants and their expert intentionally attempt to blur. As a result, not
   only would Mr. Ferrante’s testimony “fail to assist” the factfinder in determining an actual “fact
   in issue,” it would actively mislead the jury into believing that Mr. Ferrante had discovered
   evidence of the truth of the actual statements contained in the December Memo, where he clearly
   did not. As such, his testimony must be excluded. See United States v. Frazier, 387 F.3d 1244,
   1263 (11th Cir. 2004) (“Because of the powerful and potentially misleading effect of expert
   evidence ... sometimes expert opinions that otherwise meet the admissibility requirements may
   still be excluded by applying Rule 403. Exclusion under Rule 403 is appropriate if the probative
   value of otherwise admissible evidence is substantially outweighed by its potential to confuse or
   mislead the jury.... Indeed, ‘the judge in weighing possible prejudice against probative force
   under Rule 403 ... exercises more control over experts than over lay witnesses.’ ... Simply put,
   expert testimony may be assigned talismanic significance in the eyes of lay jurors, and, therefore,
   the district courts must take care to weigh the value of such evidence against its potential to
   mislead or confuse.” (citations omitted)); Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178179,
   *12 (S.D. Fla. June 2, 2015) (rejecting expert testimony where expert’s opinion “does not test the
   relevant inquiry” and is therefore “irrelevant to any issue before the jury” and “because they
   have very little probative value which would be substantially outweighed by their potential to
   confuse the jury”).
          In addition to the above reasons why Mr. Ferrante’s report must be rejected in its entirety,
   the individual opinions proffered by Mr. Ferrante must additionally be rejected for the following
   reasons.




                                                     6
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 7 of 16




                    A.     The Democratic Party Hacks
            Mr. Ferrante’s report begins by stating that Crowdstrike, a “cybersecurity technology and
   threat intelligence company,” “was contracted by the DNC to investigate the hack on its
   infrastructure” and that Crowdstrike issued a report entitled “Bears in the Midst: Intrusion into
   the Democratic National Committee” that concluded that “Russian cyber espionage groups
   COZY BEAR (also known as APT29) and FANCY BEAR (also known as APT28) infiltrated the
   DNC network.” Ferrante Report, p. 11. What Mr. Ferrante’s report largely obscures, however,
   and what would tend to further confuse the jury, is the extent to which the data from the
   Crowdstrike report and additional data provided directly by the Democratic National Committee
   fails to support even Mr. Ferrante’s (irrelevant) attempts to directly link Plaintiffs’ infrastructure
   to the attacks on the DNC. As Mr. Ferrante acknowledges:
            ●       Crowdstrike’s report identified four IP addresses that it believed to belong to the
   “Command and Control” computers responsible for the hack on the DNC and none of those IP
   addresses were connected in any way to Plaintiffs. Ferrante Depo, pp. 77-83.
            ●       The Democratic National Committee produced in this litigation a list of additional
   IP addresses that were believed to have been responsible for the hack on the DNC and, once
   again, none of those IP addresses were connected in any way to Plaintiffs. Ferrante Depo, p.
   84.
            ●       “The CrowdStrike report included seven command and control [“C&C”] IP
   addresses and five malware hashes as the IOCs 2 in the DNC hack. FTI reviewed the IP
   registration information for the seven C&C IP addresses, but none were affiliated with XBT.
   Similarly, FTI was not able to identify a direct technical connection to XBT infrastructure based
   on an analysis of the five malware samples.” Ferrante Report, p. 14; Ferrante Depo., p. 98.
            To the extent, then, that Mr. Ferrante set out to prove an irrelevancy – that Plaintiffs’
   infrastructure was utilized to hack the Democratic Leadership (as opposed to the Plaintiffs
   doing so themselves as alleged in the December Memo), his report concludes that no such direct
   connection existed. And, although Plaintiffs would obviously want to point this fact out to the
   jury if Mr. Ferrante were allowed to testify to the jury at all, this conclusion simply serves to
   emphasize how Mr. Ferrante’s report does nothing to prove the truth of the allegations contained



   2
       Indicators of Concern.
                                                      7
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 8 of 16




   in the December Memo, which are the subject of this lawsuit. As such, Mr. Ferrante’s testimony
   should be excluded in its entirety.
                   B.     The Bitly Link
          Having failed to establish a direct connection even to Plaintiffs’ infrastructure, Mr.
   Ferrante next opines that “Technical evidence suggests that FANCY BEAR used XBT
   infrastructure to support malicious spear phishing campaigns against the Democratic Party
   Leadership.” Ferrante Report, p. 12. In doing so, Mr. Ferrante begins his analysis by relying
   entirely on “documents published by WikiLeaks,” specifically a “phishing” email purportedly
   sent to Clinton campaign manager John Podesta, in an attempt to get him to click on a link that
   would, in turn, bring him to a page that looked like a Google security page in order to lure him
   into entering his username and password.
          Preliminarily, Mr. Ferrante makes no attempt to explain how or why the Court should
   accept that the Wikileaks document – which purports to be a stolen email anonymously provided
   to Wikileaks – is in any way reliable. As such, Mr. Ferrante’s conclusions concerning the Bitly
   Link are already built on an inadmissible foundation, which should lead the Court to reject Mr.
   Ferrante’s testimony on this topic. See, e.g., Affiliati Network, Inc. v. Wanamaker, 2017 U.S.
   Dist. LEXIS 217403, *26 (S.D. Fla. August 14, 2017) (“Hochman fails to proffer any
   information whatsoever to indicate that the BBB or #REPORTSCAM websites constitute
   reliable sources to support Hochman's opinions. In other words, Hochman relies entirely on
   anecdotal complaints by anonymous sources, without verifying, or attempting to verify, the
   authenticity of any of the ratings or reviews on these two websites, which is unacceptable under
   Daubert.” (citing McClain v. Metabolife Int'l, Inc., 401 F.3d 1233, 1250 (11th Cir. 2005), for
   “Uncontrolled anecdotal information offers one of the least reliable sources to justify opinions
   about both general and individual causation.”)).
          Mr. Ferrante continues, stating that he next relied upon an internal investigation
   conducted by the company Bitly to determine how its service “was used in the spear phishing
   attack of the DNC and Democratic Party leadership.” Ferrante Report, p. 12. Once again, Mr.
   Ferrante provides no information as to why the Court should rely on the Bitly internal
   investigation
          Nevertheless, even if the Court were to look past Mr. Ferrante’s reliance on anonymous
   source information found on the internet and unverified internal investigations of third parties,

                                                      8
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 9 of 16




   his own data in no way supports even his weak conclusion that “Technical evidence suggests
   that FANCY BEAR used XBT infrastructure to support malicious spear phishing campaigns
   against the Democratic Party leadership.” Ferrante Report, p. 12 (emphasis added). To the
   contrary, Mr. Ferrante states that (according to the Bitly data), 41 different IP addresses were
   used to create suspicious Bitlinks that may have been used in the phishing attack on the DNC.
   Of those 41 IP addresses, one single IP address was owned by Root S.A. (a subsidiary of XBT).
   This does not mean (nor does Mr. Ferrante claim that it means) that Plaintiffs themselves utilized
   this IP address to create the suspicious Bitlink as opposed to it possibly having been created by a
   client of Root S.A. (or even a customer of a client of Root S.A.). Regardless, though, Mr.
   Ferrante’s report then admits that “Based on the information currently available, FTI cannot
   definitively state that the bitlink created using the Root S.A. IP address was ever sent to or
   received by John Podesta.” Ferrante Report, p. 14; Ferrante Depo, pp. 92-96.
          In short, the only thing that Mr. Ferrante’s investigation – built on anonymous and
   unsubstantiated documents – is able to conclude is that: (1) someone utilized 41 different IP
   addresses to create suspicious Bitly links, one of which (though Mr. Ferrante does not know
   which one) was used to actually send a phishing email to John Podesta; (2) one of those 41 IP
   addresses was owned by a subsidiary of XBT; and (3) there is no way to know if the link that
   Mr. Podesta clicked on was sent by the IP address owned by Root S.A. or by any of the 40 other
   IP addresses not owned by Root S.A. Based on this, to allow Mr. Ferrante to testify (on this rank
   speculation) that “Technical evidence suggests that FANCY BEAR used XBT infrastructure to
   support malicious spear phishing campaigns against the Democratic Party Leadership” would fly
   in the face of the requirements of Daubert. As this Court held in Bowe v. Pub. Storage, 2015
   U.S. Dist. LEXIS 178180 (S.D. Fla. June 2, 2015):
          Skorheim’s opinions are also misleading because they are presented as expert
          analysis where they are instead hypothetical musings not grounded in actual facts
          or based on any specific methodology, and appear to be Skorheim’s self-directed
          Socratic inquiry. Finally, Skorheim’s opinion that Plaintiffs have not produced
          sufficient evidence to fairly establish and estimate economic harm is a decision that
          the jury can, and will, decide based on the evidence presented. Skorheim’s rank
          speculation would only unfairly prejudice Plaintiffs by advocating for a certain
          result in the guise of offering expert opinions. This is unacceptable. See Evans v.
          Mathis Funeral Home, Inc., 996 F.2d 266, 268 (11th Cir. 1993) (affirming
          exclusion of expert testimony where testimony was within common knowledge of
          jurors and testimony was based on assumptions that were not supported by the
          record); King v. Cessna Aircraft Co., No. 03-20482-CIV, 2010 U.S. Dist. LEXIS

                                                     9
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 10 of 16




           50728, 2010 WL 1980861, at *5 (S.D. Fla. May 18, 2010) (“We thus cannot cast a
           blind eye to such rank speculation being presented to our jury under the guise of
           reliable expert testimony.”).
    Id. at *13. See, also, Eberli v. Cirrus Design Corp., 615 F. Supp. 2d 1357, 1365 (S.D. Fla. 2009)
    (“The fact that the opinion itself merely lists potential causes instead of drawing any conclusion
    underscores how speculative it is.”).
                   C.      Additional Technical Connections
           Mr. Ferrante next opines that “Technical evidence suggests that FANCY BEAR may
    have used an IP address owned by XBT Subsidiary, Root S.A., in the past.” Ferrante Report, p.
    14 (emphasis added). Mr. Ferrante then notes that one IP address owned by Root S.A. (but not
    necessarily used by Root S.A. as opposed to one of its customers) used a security certificate
    called an SSL Certificate that (according to Mr. Ferrante) that was also used by one of the
    suspicious servers listed in the Crowdstrike report (discussed above) which Mr. Ferrante claims,
    without explanation “suggests that the certificate is controlled by FANCY BEAR.” At the end of
    all of this speculation and “suggestion,” Mr. Ferrante concedes that he has insufficient evidence
    to reach any conclusion: “FTI notes that because this is an indirect link, more data from
    Crowdstrike and/or the DNC is required to determine if XBT infrastructure supported the DNC
    hack.” Ferrante Report, p. 15. This is, then, not simply rank speculation, but rank speculation on
    an issue that (even if actual evidence supported Mr. Ferrante’s conclusion) is still not what was
    actually alleged about the Plaintiffs in the December Memo.
                   D.      Other U.S. Election Meddling
           Mr. Ferrante next opines that “Technical evidence suggests that IP addresses owned by
    Root S.A. were included in the tools and infrastructure used by Russian intelligence to interfere
    in the 2016 U.S. Election.” Ferrante Report, p. 15. The report from which Mr. Ferrante draws
    this conclusion – the so-called Grizzly Steppe report (attached hereto as Exhibit 4) supports no
    such conclusion. The report, which was apparently issued by the Department of Homeland
    Security and the FBI, was designed to warn owners of certain IP addresses that those intelligence
    agencies had detected what might be suspicious activity attributable to Russian actors originating
    from those IP addresses. The Grizzly Steppe report itself, however, makes clear that: “Upon
    reviewing the traffic from these IPs, some traffic may correspond to malicious activity, and some
    may correspond to legitimate activity.” Grizzly Steppe Report, p. 5. The report then goes on to
    list literally hundreds upon hundreds of IP addresses that may have been affected, including 13

                                                    10
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 11 of 16




    IP addresses owned by Root S.A. Grizzly Steppe Report, pp. 13-53. With respect to these IP
    addresses, the Grizzly Steppe report notes simply “It is recommended that network
    administrators review traffic to/from the IP address to determine possible malicious activity.”
    Ferrante Depo., pp. 103-104. None of this supports Mr. Ferrante’s unsupported speculation that
    “evidence suggests that IP addresses owned by Root S.A. were included in the tools and
    infrastructure used by Russian intelligence to interfere in the 2016 U.S. Election” and, as such,
    Mr. Ferrante’s conclusion must be excluded.
            Additionally, Mr. Ferrante notes that Marc Goederich, managing director of Root S.A.,
    was contacted by authorities in Luxenberg who inquired about the IP addresses listed in the
    Grizzly Steppe report. Ferrante Report, p. 16. Mr. Ferrante opined, without explanation, that he
    believed that Mr. Goederich’s response to authorities was somehow insufficient. Mr. Ferrante
    offered no basis for this opinion other than his “experience,” despite the fact that the Luxenberg
    authorities themselves seemed satisfied with Mr. Goedrich’s response. Ferrante Depo, pp. 107-
    108.3
            In reaching this conclusion, Mr. Ferrante offers no explanation for what experience he is
    drawing upon, or how or why it applies to the facts at issue. Instead, he is asking the Court to
    “take the expert’s word for it.” See, e.g., United States v. Frazier, 387 F.3d 1244, 1261 (11th
    Cir. 2004) (“[I]f the witness is relying solely or primarily on experience, then the witness must
    explain how that experience leads to the conclusion reached, why that experience is a sufficient


    3
      Q. …you talk about an inquiry from the Luxembourg authorities to Root S.A. concerning one
    of the IP addresses listed in the Grizzly Steppe report, correct?
    A. Correct.
    Q. And you note that Mr. Goederich responded to the Luxembourgish authorities, and you
    conclude, you say: Based on our experience this is not an adequate response to a government
    inquiry. And you're talking about the response that Mr. Goederich gave to the Luxembourgish
    police, correct?
    A. To be clear, Mr. Goederich's response was -- and I'm quoting -- "It is a tour exit note." And
    quoting again: "Doesn't get us very far." Correct.· In my expert opinion, Mr. ·Goederich's
    response to the authorities is less than adequate.
    Q. Did the Luxembourgish authorities ask Mr. Goederich for more information?
    A. I don't know.
    Q. In your experience, if a government agency wants more information they know how to ask,
    right?
    A. In my experience, you're absolutely correct. In my experience, a government agent knocking
    on the door, a telecommunications company is absolutely going to ask for more than just one
    data point, especially if 13 are listed.
                                                    11
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 12 of 16




    basis for the opinion, and how that experience is reliably applied to the facts. The trial court's
    gatekeeping function requires more than simply ‘taking the expert's word for it.’”); Witt v.
    Stryker Corp., 648 F. App'x 867, 873 (11th Cir. 2016) (“The trial court's gatekeeping function
    requires more than simply ‘taking the expert's word for it.’ ... If admissibility could be
    established merely by the ipse dixit of an admittedly qualified expert, the reliability prong would
    be, for all practical purposes, subsumed by the qualification prong.”). Here, too, Mr. Ferrante’s
    conclusion must be excluded.
                   E.      The Methbot Operation
           Mr. Ferrante then goes on a long diversion (Ferrante Report, pp. 17-22) to discuss what is
    referred to as the “Methbot Operation,” which was, in its simplest terms, a scam in which
    automated bots made it appear as if human beings were clicking on advertising links, thereby
    causing the advertisers to pay revenues for what they believed were legitimate views of the
    advertisements. See, e.g., Ferrante Depo., pp. 113-115. Mr. Ferrante’s report acknowledged
    that, when Plaintiffs learned from a third-party White Ops paper that one of its customers might
    have been involved in the Methbot Operation, utilizing Plaintiffs’ servers, it “took action to
    terminate the responsible customer.” Ferrante Report, p. 21; Ferrante Depo. pp. 119-120. Mr.
    Ferrante also acknowledged that he had learned that “when XBT became aware of the methbot
    operation they pulled the hard drives related to that operation and maintained them in case law
    enforcement ever wanted to look at them.” Ferrante Depo, pp. 119-120. Mr. Ferrante also
    acknowledged that he had no reason to believe that the Methbot Operation had anything to do
    with the attempts to hack the 2016 U.S. elections (other than the fact that both operations used
    “bots,” which is much like saying that two disparate activities might be connected because they
    both used email). Ferrante Depo., p. 115.
           Nevertheless, Mr. Ferrante uses this gratuitous reference to the Methbot Operation to
    opine only that “it is a highly unusual and risky business practice for hosting companies to
    provide services without signed contracts, especially instances when the customer is requesting a
    large number of servers and the company is at risk of losing a large amount of revenue.”
    Ferrante Report, p. 22. Mr. Ferrante does not appear to have any expertise concerning the
    running of a hosting company or what contracts hosting companies should enter into, nor does he
    cite any source for his opinion or explain how his expertise might make this opinion useful to a



                                                     12
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 13 of 16




    jury. In short, Mr. Ferrante’s random conclusion does not comport with the requirements of
    Daubert in any respect.
                   F.      Malicious Cyber Activity
           Mr. Ferrante next proceeds to discuss a number of other instances – unrelated entirely to
    the acts described in the December Memo – that he claims demonstrates that – at one time or
    another – Plaintiffs’ networks have been utilized by bad actors looking to do bad things. From a
    general standpoint, Mr. Ferrante’s opinions here veer from the merely irrelevant into the territory
    of impermissible “character” evidence inasmuch as it seeks to prove that, if Plaintiffs had clients
    or customers who utilized their infrastructure to do bad things in the past, that a jury can infer
    that the same happened here. Fed. R. Evid. 404(a)(1). Putting aside that such evidence must be
    rejected because it is irrelevant, is more prejudicial than probative, and is impermissible
    character evidence – an examination of Mr. Ferrante’s report proves him time and again to be
    unreliable in his conclusions and his reliance on materials which he cannot (and has not)
    demonstrated to be reliable in any way.
           For example, Mr. Ferrante first cites to a report issued by a private security firm, ESET,
    in an attempt to link IP addresses owned by an XBT subsidiary to a malware attack called
    CRASHOVERRIDE. Ferrante Report, p. 22. However, the very ESET report cited by Mr.
    Ferrante to reach his conclusion contained a caution that indicated “Warning! Most of the
    servers with these IP addresses were part of Tor network, which means that the use of these
    indicators could result in a false positive match.” Ferrante Depo., p. 124. Mr. Ferrante admitted
    that he did not include this information in his report because “in my opinion I believe that to be
    irrelevant.” Id.
           Ultimately, for each of these alleged malicious events, Mr. Ferrante fails to discuss the
    reliability of the sources relied upon and, for the most part, fails to demonstrate how he applied
    his expertise to the facts alleged, as opposed to simply repeating statements made by others about
    wholly irrelevant matters.
                   G.      Statements from Deposition Testimony
           Mr. Ferrante includes a section in his report, pages 28-31, where he reviews the
    deposition testimony of two of XBT’s personnel, Mr. Konstantin Bezruchenko and Mr. Marc
    Goederich, and comes to the conclusion that Root and XBT “do not actively prevent the use of
    their infrastructure to support malicious cyber activity.” The entirety of this section should be

                                                     13
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 14 of 16




    excluded for two reasons. First, the section is irrelevant to the subject at hand – specifically
    whether Webzilla/XBT “had been using botnets and porn traffic to transmit viruses, plant bugs,
    steal data and conduct ‘altering operations’ against the Democratic Party leadership,” which are
    the defamatory statements in this action. See Allison v. McGhan Medical Corp., 184 F.3d 1300,
    1311-12 (11th Cir. 1999) (“The judge’s role is to keep unreliable and irrelevant information from
    the jury because of its inability to assist in factual determinations, its potential to create
    confusion, and its lack of probative value.”). Second, the entire section is nothing more than Mr.
    Ferrante claiming that the Court should “trust him” that XBT and Root’s efforts were not
    adequate. Where a witness is “‘relying solely or primarily on experience, then the witness must
    explain how that experience leads to the conclusion reached, why that experience is a sufficient
    basis for the opinion, and how that experience is reliably applied to the facts. The trial court’s
    gatekeeping function requires more than simply “taking the expert’s word for it.”’” Affiliati
    Network, Inc. v. Wanamaker, 2017 U.S. Dist. LEXIS 217403, at *7-8 (S.D. Fla. Aug. 14, 2017)
    (quoting Frazier, 387 F.3d at 1261). Mr. Ferrante has failed to do so and, as such, his testimony
    here too must be rejected.
                    H.      Public Reputation Related to Malicious Cyber Activity
            Finally, Mr. Ferrante presents the court with a chart that purports to list a number of
    articles taken from various sources (ranging from newspaper reports to blog articles) in support
    of a contention that various subsidiaries of XBT have been mentioned in the media at various
    times as having hosted client websites that allegedly engaged in questionable behavior such as
    copyright violations or the display of pornography. Putting aside the utter irrelevance of this
    section; the fact that Mr. Ferrante never once explains why the Court should rely on the content
    of the cited newspaper articles or blogs; the unduly prejudicial nature of the factual allegations;
    and the fact that Mr. Ferrante does not explain either how this information falls within his area of
    expertise, how he applied his expertise to his conclusions, or why a jury might benefit from his
    testimony – putting all of that aside, even a cursory review of some of Mr. Ferrante’s examples
    demonstrates how little regard he had for relevance or accuracy when drafting his report.
            For example, Mr. Ferrante’s very first example of alleged wrongdoing involves a 2008
    report in the Dallas Morning News that hosting company 1-800-Hosting was under investigation
    for “hosting websites linked to two Russian cyber criminals.” Ferrante Report, p. 32. As Mr.



                                                       14
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 15 of 16




    Ferrante admits, however, Plaintiffs did not actually own 1-800-Hosting in 2008 when the
    alleged “wrongdoing” occurred. Id. See, also, Ferrante Depo., pp. 131-133.
            Similarly, Mr. Ferrante’s citation to a McClatchy DC Bureau article for the proposition
    that XBT subsidiary fozzy.com “is a site used to heavily host pornography” actually
    mischaracterizes the fact that the McClatchy article (written, incidentally, as a result of
    Buzzfeed’s publication of the December Memo) actually simply points out that XBT had
    purchased fozzy.com, which it claimed (at one point in time) hosted pornography. Ferrante
    Depo., pp. 135-137. Mr. Ferrante admitted that he had no idea if fozzy.com continued to heavily
    host pornography. Indeed, although not mentioned by Mr. Ferrante, the very same McClatchy
    article also stated “analyst Carl Brooks of 451 Research, a Boston-based consultancy, said in a
    December interview.· 'They don't have a bad reputation, by any means.'· He said the same went
    for XBT Holdings:· 'To the best of my knowledge, XBT is not particularly nefarious'." Ferrante
    Depo., p. 139.
            Finally, and most astonishingly, despite citing a 10 year old Dutch blogger for the
    proposition that Plaintiffs’ servers hosted websites that contained child pornography, Mr.
    Ferrante admitted not only that he did not know if the allegations made in the reports were true,
    but that it would not make a difference to his “data points” if the reports were wholly false.
    Ferrante Depo., pp. 162-173. In other words, Mr. Ferrante admits that it simply didn’t matter to
    him whether the items he relied on in preparing his report were true or not.
                                                Conclusion
            For the reasons stated hereinabove and in accordance with Daubert v. Merrill Dow
    Pharms., Inc., 509 U.S. 579 (1993) and Kumho Tire Co., Ltd. V. Carmichael, 526 U.S. 137
    (1999) and FRE 702, this Court should exclude the expert report and opinions of Anthony J.
    Ferrante in their entirety.




                                                     15
Case 0:17-cv-60426-UU Document 248-1 Entered on FLSD Docket 10/15/2018 Page 16 of 16




    Dated: October 15, 2018

    Respectfully Submitted:
     /s/ Evan Fray-Witzer
     Evan Fray-Witzer (pro hac vice)
     CIAMPA FRAY-WITZER, LLP
     20 Park Plaza, Suite 505
     Boston, Massachusetts 02116
     Telephone: 617-426-0000
     Facsimile: 617-423-4855
     Evan@CFWLegal.com

     /s/ Valentin Gurvits
     Valentin D. Gurvits (pro hac vice)
     Matthew Shayefar (Fla. Bar No. 0126465)
     BOSTON LAW GROUP, PC
     825 Beacon Street, Suite 20
     Newton Centre, Massachusetts 02459
     Telephone: 617-928-1804
     Facsimile: 617-928-1802
     vgurvits@bostonlawgroup.com
     matt@bostonlawgroup.com

     /s/ Brady J. Cobb
     Brady J. Cobb (Fla. Bar No. 031018)
     COBB EDDY, PLLC
     642 Northeast Third Avenue
     Fort Lauderdale, Florida 33304
     Telephone: 954-527-4111
     Facsimile: 954-900-5507
     bcobb@cobbeddy.com

     Attorneys for Plaintiffs




                                               16
